     Case 4:23-cr-00057-MW-MAF Document 72 Filed 02/08/24 Page 1 of 1




                    United States District Court
                CRIMINAL MINUTES - ARRAIGNMENT

Case No. 4:23cr57-MW                     Date: February 8, 2024

DOCKET ENTRY: Arraignment on Superseding Indictment

- Not Guilty Plea entered
- Trial set for March 25, 2024 at 8:15 a.m. before Chief Judge Walker

PRESENT: Martin A. Fitzpatrick, United States Magistrate Judge

Angie Maxwell    Gabrielle McCoy       DCR TLH          James McCain
Deputy Clerk        USPO             Court Reporter     Ast. US Attorney


U.S.A. v. (Defendant listed below)     Attorney for Defendant:

JERDY D. MILLER, JR.                    Richard Smith
X present X custody      O/R            X present X appointed     retained



PROCEEDINGS:

 X   Defendant is ARRAIGNED and specifically advised of his rights.
 X   Defendant waives reading of Indictment-Information
     Indictment read
 X   Defendant PLEADS:          Guilty Count(s)
                            X   Not Guilty as charged on Indictment
 X   Trial set for: March 25, 2023 at 8:15 a.m.
